            Case 2:13-mj-00776-VCF          Document 94        Filed 07/03/14     Page 1 of 1


 1

 2                                  UNITED STATES DISTRICT COURT
 3                                         DISTRICT OF NEVADA
 4                                                     ***
 5
     UNITED STATES OF AMERICA,
 6

 7
                           Plaintiff,
                                                          2:13-mj-00776-VCF
 8   vs.                                                  MINUTE ORDER
 9   ROBERT WOLFE,

10                         Defendant.

11          On September 27, 2013, retained counsel, John Parris, Esq. for Ben Nadig, Esq., appeared on

12   behalf of Robert Wolfe at his initial appearance. (#4). On July 2, 2014, Ben Nadig, Esq. filed his

13   Motion to Withdraw as Attorney, stating that there has been a deterioration of the attorney-client

14   relationship. (#93). On July 3, 2014, the court held a hearing on the Motion to Withdraw as Attorney.

15   Defendant has retained Louis C. Schneider, Esq. to represent him in this matter. Good cause appearing,

16   the Motion to Withdraw as Attorney is granted.

17          Accordingly,

18          IT IS HEREBY ORDERED that the Motion to Withdraw as Attorney (#93) is GRANTED.

19          IT IS FURTHER ORDERED that Mr. Ben Nadig must forthwith forward to Mr. Schneider all

20   documents in Mr. Nadig’s possession which relate to his prior representation of Mr. Wolfe.

21          The court clerk is directed to update the docket to reflect Mr. Louis c. Schneider, Esq. as current

22   counsel for Mr. Wolfe and to email a copy of this order to Mr. Nadig.

23          DATED this 3rd day of July, 2014.
                                                                 _________________________
24                                                               CAM FERENBACH
                                                                 UNITED STATES MAGISTRATE JUDGE
25
